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                                          UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF TEXAS
                                                  SHERMAN DIVISION

In re:                                                                 §      Case No. 19-40764
                                                                       §
AL RAHUM HOLDINGS, LLC                                                 §
                                                                       §
                                                                       §
                            Debtor                                     §

                                               TRUSTEE’S FINAL REPORT (TFR)

The undersigned trustee hereby makes this Final Report and states as follows:

     1. A petition under chapter 11 of the United States Bankruptcy Code was filed on 03/22/2019.
        The case was converted to one under Chapter 7 on 11/07/2019. The undersigned trustee was
        appointed on 11/07/2019.

     2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. § 704.

     3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor
        as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to
        11 U.S.C. § 554. An individual estate property record and report showing the disposition of all
        property of the estate is attached as Exhibit A.

      4.         The trustee realized gross receipts of                                                                          $118,375.76

                          Funds were disbursed in the following amounts:

                          Payments made under an interim distribution                                                                  $0.00
                          Administrative expenses                                                                                  $9,533.33
                          Bank service fees                                                                                          $265.51
                          Other Payments to creditors                                                                            $101,164.64
                          Non-estate funds paid to 3rd Parties                                                                         $0.00
                          Exemptions paid to the debtor                                                                                $0.00
                          Other payments to the debtor                                                                                 $0.00

                          Leaving a balance on hand of1                                                                              $7,412.28

           The remaining funds are available for distribution.

     5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

1
  The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursements will be distributed pro
rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum compensation set forth under
11 U.S.C. § 326(a) on account of the disbursement of the additional interest.

UST Form 101-7-TFR (5/1/2011)
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     6. The deadline for filing non-governmental claims in this case was 02/25/2020 and the deadline
        for filing government claims was 06/15/2020. All claims of each class which will receive a
        distribution have been examined and any objections to the allowance of claims have been
        resolved. If applicable, a claims analysis, explaining why payment on any claim is not being
        made, is attached as Exhibit C.

     7. The Trustee’s proposed distribution is attached as Exhibit D.

     8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
        $9,168.79. To the extent that additional interest is earned before case closing, the maximum
        compensation may increase.

        The trustee has received $0.00 as interim compensation and now requests the sum of $1,550.00,
for a total compensation of $1,550.002. In addition, the trustee received reimbursement for reasonable
and necessary expenses in the amount of $0.00, and now requests reimbursement for expenses of
$107.81, for total expenses of $107.81.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing
report is true and correct.

Date: 03/13/2022                                                         By:       /s/ Christopher J. Moser
                                                                                   Trustee

STATEMENT: This Uniform form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




2
 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the Trustee’s Proposed
Distribution (Exhibit D).

UST Form 101-7-TFR (5/1/2011)
                                                Case 19-40764               Doc 95    Filed 04/27/22
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                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                               Page No:    1              Exhibit A
                                                                                                          ASSET CASES

Case No.:                       19-40764-BTR-7                                                                                                               Trustee Name:                                Christopher J. Moser
Case Name:                      AL RAHUM HOLDINGS, LLC                                                                                                       Date Filed (f) or Converted (c):             11/07/2019 (c)
For the Period Ending:          3/13/2022                                                                                                                    §341(a) Meeting Date:                        12/02/2019
                                                                                                                                                             Claims Bar Date:                             02/25/2020

                                     1                                             2                               3                                 4                         5                                         6

                            Asset Description                                   Petition/                   Estimated Net Value                   Property                Sales/Funds              Asset Fully Administered (FA)/
                             (Scheduled and                                   Unscheduled                  (Value Determined by                   Abandoned               Received by              Gross Value of Remaining Assets
                        Unscheduled (u) Property)                                Value                            Trustee,                  OA =§ 554(a) abandon.          the Estate
                                                                                                          Less Liens, Exemptions,
                                                                                                             and Other Costs)

 Ref. #
1       Chase bank (5) - Listed on Conversion Schedules                                   $0.00                                     $0.00                                           $0.00                                            FA
        filed on 11/25/19 but removed on Amended
        Schedules filed 4/13/20
2       Inventory - listed on original chapt 11 schedules                                 $0.00                                     $0.00                                           $0.00                                            FA
3          desks. chairs computers - listed on original chapt                             $0.00                                     $0.00                                           $0.00                                            FA
           11 schedules
4          Fryers - listed on original chapt 11 schedules                                 $0.00                                     $0.00                                           $0.00                                            FA
5          Causes of Action Against Grandy's for wrongful                              Unknown                                      $0.00                                           $0.00                                            FA
           termination and breach of contract
6          Wells Fargo                                                             $118,000.00                             $118,375.76                                       $118,375.76                                             FA


TOTALS (Excluding unknown value)                                                                                                                                                                        Gross Value of Remaining Assets
                                                                                   $118,000.00                            $118,375.76                                         $118,375.76                                       $0.00




        Major Activities affecting case closing:
         12/31/2019     Quilling, Selander, Lownds, Winslett & Moser P.C. is employed to represent the trustee. The trustee is a partner in the same firm. Sheldon E. Levy, CPA is employed as an accountant.
                        Trustee collected the funds held at Wells Fargo, item #6. On Feb. 1, 2021, Estate's 2020 Tax Return was filed with the IRS, and no taxes were due. Trustee voluntarily reduced his
                        commission in order to increase payments to creditors.


    Initial Projected Date Of Final Report (TFR):           12/31/2020                            Current Projected Date Of Final Report (TFR):          03/13/2022                /s/ CHRISTOPHER J. MOSER
                                                                                                                                                                                   CHRISTOPHER J. MOSER
                                               Case 19-40764       Doc 95     Filed 04/27/22
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          19-40764-BTR-7                                                                                      Trustee Name:                      Christopher J. Moser
 Case Name:                        AL RAHUM HOLDINGS, LLC                                                                              Bank Name:                         Independent Bank
Primary Taxpayer ID #:             **-***4254                                                                                          Checking Acct #:                  ******0764
Co-Debtor Taxpayer ID #:                                                                                                               Account Title:
For Period Beginning:              3/22/2019                                                                                           Blanket bond (per case limit):     $300,000.00
For Period Ending:                 3/13/2022                                                                                           Separate bond (if applicable):

       1                2                               3                                            4                                                        5               6                      7

   Transaction       Check /                          Paid to/               Description of Transaction                                 Uniform            Deposit      Disbursement               Balance
      Date            Ref. #                       Received From                                                                       Tran Code             $               $


12/09/2019            (6)      Al Rahum Holdings LLC                  Financial Acct Balance                                            1129-000          $118,375.76                               $118,375.76
05/11/2020           3001      City of Garland                        GEO: 9900 0000 21461 8950; Claim #1                               4110-000                                   $162.94          $118,212.82
05/11/2020           3002      Garland ISD                            5/7/2020 Order; Claim #2; Property Code: 000024889                4110-000                                   $154.18          $118,058.64
05/11/2020           3003      Dallas County                          5/07/20 Order; Acct #998500 30000 250700; POC #3                  4110-000                              $11,078.57            $106,980.07
05/11/2020           3004      Rockwall CAD                           5/7/20 Order; Claim #14; Acct # 47115                             4110-000                                  $7,364.00          $99,616.07
05/11/2020           3005      Mesquite Tax Fund                      5/07/2020 Order; Claim #18; #99830 970000 129050                  4110-000                                  $7,404.95           $92,211.12
05/11/2020           3006      FC Market Place, LLC                   5/07/20 Order, Secured Lender; POC #5                             4110-000                              $75,000.00              $17,211.12
08/31/2020                     Independent Bank                       Account Analysis Charge                                           2600-000                                    $25.09           $17,186.03
09/30/2020                     Independent Bank                       Account Analysis Charge                                           2600-000                                    $25.06           $17,160.97
10/30/2020                     Independent Bank                       Account Analysis Charge                                           2600-000                                    $25.02           $17,135.95
11/30/2020                     Independent Bank                       Account Analysis Charge                                           2600-000                                    $24.98            $17,110.97
12/07/2020           3007      QSLWM                                  12/01/2020 Order - Attorney's Fees                                   *                                      $7,907.98            $9,202.99
                                                                      Attorney's Fees                                    $(7,812.00)    3110-000                                                       $9,202.99
                                                                      Attorney's Expenses                                   $(95.98)    3120-000                                                       $9,202.99
12/31/2020                     Independent Bank                       Account Analysis Charge                                           2600-000                                    $16.88                $9,186.11
01/29/2021                     Independent Bank                       Account Analysis Charge                                           2600-000                                    $13.39             $9,172.72
02/26/2021                     Independent Bank                       Account Analysis Charge                                           2600-000                                    $13.37             $9,159.35
03/15/2021           3008      Sheldon Levy                           3/11/21 Order - Accountant's Fees                                    *                                      $1,625.35            $7,534.00
                                                                      Accountant Fees                                    $(1,475.00)    3410-000                                                       $7,534.00
                                                                      Accountant -Expenses                                 $(150.35)    3420-000                                                       $7,534.00
03/31/2021                     Independent Bank                       Account Analysis Charge                                           2600-000                                    $12.80             $7,521.20
04/30/2021                     Independent Bank                       Account Analysis Charge                                           2600-000                                    $10.96             $7,510.24
05/28/2021                     Independent Bank                       Account Analysis Charge                                           2600-000                                    $10.95             $7,499.29
06/30/2021                     Independent Bank                       Account Analysis Charge                                           2600-000                                    $10.93             $7,488.36
07/30/2021                     Independent Bank                       Account Analysis Charge                                           2600-000                                    $10.92             $7,477.44
08/31/2021                     Independent Bank                       Account Analysis Charge                                           2600-000                                    $10.90             $7,466.54
09/30/2021                     Independent Bank                       Account Analysis Charge                                           2600-000                                    $10.88             $7,455.66
10/29/2021                     Independent Bank                       Account Analysis Charge                                           2600-000                                    $10.87             $7,444.79

                                                                                                                                       SUBTOTALS          $118,375.76       $110,930.97
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         19-40764-BTR-7                                                                                    Trustee Name:                         Christopher J. Moser
 Case Name:                       AL RAHUM HOLDINGS, LLC                                                                            Bank Name:                            Independent Bank
Primary Taxpayer ID #:            **-***4254                                                                                        Checking Acct #:                      ******0764
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:
For Period Beginning:             3/22/2019                                                                                         Blanket bond (per case limit):        $300,000.00
For Period Ending:                3/13/2022                                                                                         Separate bond (if applicable):

       1                2                                3                                           4                                                    5                   6                      7

   Transaction       Check /                          Paid to/               Description of Transaction                              Uniform           Deposit          Disbursement               Balance
      Date            Ref. #                       Received From                                                                    Tran Code            $                   $


11/30/2021                     Independent Bank                       Account Analysis Charge                                        2600-000                                       $10.85             $7,433.94
12/31/2021                     Independent Bank                       Account Analysis Charge                                        2600-000                                       $10.84             $7,423.10
01/31/2022                     Independent Bank                       Account Analysis Charge                                        2600-000                                       $10.82             $7,412.28
02/23/2022                     Independent Bank                       Transfer Funds                                                 9999-000                                     $7,412.28                  $0.00

                                                                                       TOTALS:                                                         $118,375.76           $118,375.76                     $0.00
                                                                                           Less: Bank transfers/CDs                                          $0.00             $7,412.28
                                                                                       Subtotal                                                        $118,375.76           $110,963.48
                                                                                           Less: Payments to debtors                                         $0.00                 $0.00
                                                                                       Net                                                             $118,375.76           $110,963.48



                     For the period of 3/22/2019 to 3/13/2022                                                    For the entire history of the account between 12/09/2019 to 3/13/2022

                     Total Compensable Receipts:                      $118,375.76                                Total Compensable Receipts:                               $118,375.76
                     Total Non-Compensable Receipts:                        $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                    $118,375.76                                Total Comp/Non Comp Receipts:                             $118,375.76
                     Total Internal/Transfer Receipts:                      $0.00                                Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                 $110,963.48                                Total Compensable Disbursements:                          $110,963.48
                     Total Non-Compensable Disbursements:                   $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:               $110,963.48                                Total Comp/Non Comp Disbursements:                        $110,963.48
                     Total Internal/Transfer Disbursements:             $7,412.28                                Total Internal/Transfer Disbursements:                      $7,412.28
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         19-40764-BTR-7                                                                                    Trustee Name:                         Christopher J. Moser
 Case Name:                       AL RAHUM HOLDINGS, LLC                                                                            Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:            **-***4254                                                                                        Checking Acct #:                      ******0012
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:                        DDA
For Period Beginning:             3/22/2019                                                                                         Blanket bond (per case limit):        $300,000.00
For Period Ending:                3/13/2022                                                                                         Separate bond (if applicable):

       1                2                                3                                           4                                                      5                 6                    7

   Transaction       Check /                          Paid to/               Description of Transaction                              Uniform           Deposit          Disbursement             Balance
      Date            Ref. #                       Received From                                                                    Tran Code            $                   $


02/23/2022                     Pinnacle Bank                          Transfer Funds                                                 9999-000             $7,412.28                                    $7,412.28

                                                                                       TOTALS:                                                            $7,412.28                $0.00               $7,412.28
                                                                                           Less: Bank transfers/CDs                                       $7,412.28                $0.00
                                                                                       Subtotal                                                               $0.00                $0.00
                                                                                           Less: Payments to debtors                                          $0.00                $0.00
                                                                                       Net                                                                    $0.00                $0.00



                     For the period of 3/22/2019 to 3/13/2022                                                    For the entire history of the account between 02/23/2022 to 3/13/2022

                     Total Compensable Receipts:                            $0.00                                Total Compensable Receipts:                                     $0.00
                     Total Non-Compensable Receipts:                        $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                          $0.00                                Total Comp/Non Comp Receipts:                                   $0.00
                     Total Internal/Transfer Receipts:                  $7,412.28                                Total Internal/Transfer Receipts:                           $7,412.28


                     Total Compensable Disbursements:                       $0.00                                Total Compensable Disbursements:                                 $0.00
                     Total Non-Compensable Disbursements:                   $0.00                                Total Non-Compensable Disbursements:                             $0.00
                     Total Comp/Non Comp Disbursements:                     $0.00                                Total Comp/Non Comp Disbursements:                               $0.00
                     Total Internal/Transfer Disbursements:                 $0.00                                Total Internal/Transfer Disbursements:                           $0.00
                                             Case 19-40764        Doc 95    Filed 04/27/22
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         19-40764-BTR-7                                                                                 Trustee Name:                         Christopher J. Moser
Case Name:                       AL RAHUM HOLDINGS, LLC                                                                         Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:           **-***4254                                                                                     Checking Acct #:                      ******0012
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:                        DDA
For Period Beginning:            3/22/2019                                                                                      Blanket bond (per case limit):        $300,000.00
For Period Ending:               3/13/2022                                                                                      Separate bond (if applicable):

      1                 2                                3                                          4                                                 5                   6                    7

  Transaction        Check /                         Paid to/               Description of Transaction                           Uniform           Deposit          Disbursement             Balance
     Date             Ref. #                      Received From                                                                 Tran Code            $                   $




                                                                                                                                                                              NET              ACCOUNT
                                                                                      TOTAL - ALL ACCOUNTS                               NET DEPOSITS                    DISBURSE             BALANCES

                                                                                                                                                  $118,375.76          $110,963.48               $7,412.28




                     For the period of 3/22/2019 to 3/13/2022                                                For the entire history of the case between 11/07/2019 to 3/13/2022

                     Total Compensable Receipts:                     $118,375.76                             Total Compensable Receipts:                               $118,375.76
                     Total Non-Compensable Receipts:                       $0.00                             Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                   $118,375.76                             Total Comp/Non Comp Receipts:                             $118,375.76
                     Total Internal/Transfer Receipts:                 $7,412.28                             Total Internal/Transfer Receipts:                           $7,412.28


                     Total Compensable Disbursements:                $110,963.48                             Total Compensable Disbursements:                          $110,963.48
                     Total Non-Compensable Disbursements:                  $0.00                             Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:              $110,963.48                             Total Comp/Non Comp Disbursements:                        $110,963.48
                     Total Internal/Transfer Disbursements:            $7,412.28                             Total Internal/Transfer Disbursements:                      $7,412.28




                                                                                                                             /s/ CHRISTOPHER J. MOSER
                                                                                                                             CHRISTOPHER J. MOSER
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  Case No.                      19-40764-BTR-7                                                                                      Trustee Name:             Christopher J. Moser
  Case Name:                    AL RAHUM HOLDINGS, LLC                                                                              Date:                     3/13/2022
  Claims Bar Date:              02/25/2020

 Claim               Creditor Name            Claim           Claim Class         Claim     Uniform    Scheduled     Claim       Amount         Amount         Interest         Tax             Net
  No.:                                        Date                                Status   Tran Code    Amount      Amount       Allowed         Paid                                        Remaining
                                                                                                                                                                                              Balance

          CHRISTOPHER J.                    10/09/2021   Trustee               Allowed     2100-000         $0.00    $9,168.79    $1,550.00           $0.00         $0.00            $0.00     $1,550.00
          MOSER                                          Compensation
          2001 Bryan Street, Suite 1800
          Dallas TX 75201
          CHRISTOPHER J.                    03/13/2022   Trustee Expenses      Allowed     2200-000         $0.00     $107.81      $107.81            $0.00         $0.00            $0.00      $107.81
          MOSER
          2001 Bryan Street, Suite 1800
          Dallas TX 75201
      1   CITY OF GARLAND                   03/26/2019   State and Local Tax   Allowed     4800-070         $0.00     $162.94      $162.94          $162.94         $0.00            $0.00        $0.00
                                                         Liens (pre-peti
         c/o Perdue Brandon Fielder et al
         1919 S. Shiloh Road, #310, LB
         40
         Garland TX 75042
Claim Notes: 5/07/2020 Order; Dkt # 82
      2   GARLAND ISD                       03/26/2019   State and Local Tax   Allowed     4800-000         $0.00     $154.18      $154.18          $154.18         $0.00            $0.00        $0.00
                                                         Liens (pre-peti
         c/o Perdue Brandon Fielder et al
         1919 S. Shiloh Road, #310, LB
         40
         Garland TX 75042
Claim Notes: 5/07/2020 Order; Dkt # 82
      3   DALLAS COUNTY                     03/27/2019   State and Local Tax   Allowed     4800-000         $0.00   $11,896.77   $11,078.57     $11,078.57          $0.00            $0.00        $0.00
                                                         Liens (pre-peti
         Linebarger, Goggan, Blair &
         Sampson, LLC
         c/o Laurie A. Spindler
         2777 N. Stemmons Freeway Suite
         1000
         Dallas TX 75207
Claim Notes: 5/07/2020 Order; Dkt # 82
      4   COMPASS BANK                      04/17/2019   General Unsecured     Allowed     7100-000         $0.00   $11,493.26   $11,493.26           $0.00         $0.00            $0.00    $11,493.26
                                                         726(a)(2)
          P O Box 10566
          Birmingham AL 35296
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  Case No.                      19-40764-BTR-7                                                                                      Trustee Name:            Christopher J. Moser
  Case Name:                    AL RAHUM HOLDINGS, LLC                                                                              Date:                    3/13/2022
  Claims Bar Date:              02/25/2020

 Claim               Creditor Name          Claim           Claim Class         Claim      Uniform    Scheduled     Claim        Amount         Amount        Interest         Tax             Net
  No.:                                      Date                                Status    Tran Code    Amount      Amount        Allowed         Paid                                       Remaining
                                                                                                                                                                                             Balance

      5   FC MARKETPLACE, LLC             04/30/2019   Personal Prop and       Allowed    4210-000         $0.00   $481,046.78   $75,000.00     $75,000.00         $0.00            $0.00        $0.00
                                                       Intang - Consensual
         c/o Becket and Lee LLP
         PO Box 3002
         Malvern PA 19355-0702
Claim Notes: 5/07/2020 Order; Dkt # 82
    7A    IRS                             05/07/2019   Claims of               Allowed    5800-000         $0.00     $6,355.56    $6,355.56         $0.00          $0.00            $0.00    $6,355.56
                                                       Governmental Units -
                                                       507(
           P.O. Box 7346
           Philadelphia PA 19101-7346
     7B   IRS                             05/07/2019   General Unsecured       Allowed    7100-000         $0.00      $603.32      $603.32          $0.00          $0.00            $0.00      $603.32
                                                       726(a)(2)
         P.O. Box 7346
         Philadelphia PA 19101-7346
     8 WESTCHESTER                        05/08/2019   General Unsecured       Allowed    7100-000         $0.00         $0.00       $0.00          $0.00          $0.00            $0.00        $0.00
        SURPLUS LINES INS.                             726(a)(2)
        CO.
         c/o CHUBB
         436 Walnut Street
         Philadelphia PA 19106
Claim Notes: No Claim Amounts
      9   TEXAS WORKFORCE                 05/21/2019   Claims of               Allowed    5800-000         $0.00     $2,930.02    $2,930.02         $0.00          $0.00            $0.00    $2,930.02
          COMMISSION                                   Governmental Units -
                                                       507(
         Office of the Attorney General
         Bankruptcy & Collections Div.
         P.O. Box 12548, MC-008
         Austin TX 78711
Claim Notes: unemployment taxes
     10 TEXAS WORKFORCE                 05/21/2019 Other State or Local       Withdrawn   6820-000         $0.00         $0.00       $0.00          $0.00          $0.00            $0.00        $0.00
        COMMISSION                                 Taxes (non-pay
         Office of the Attorney General
         Bankruptcy & Collections Div.
         P.O. Box 12548, MC-008
         Austin TX 78711
Claim Notes: 11/01/2019 Withdrawal of Claim; Dkt #61
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   Case No.                      19-40764-BTR-7                                                                                           Trustee Name:            Christopher J. Moser
   Case Name:                    AL RAHUM HOLDINGS, LLC                                                                                   Date:                    3/13/2022
   Claims Bar Date:              02/25/2020

 Claim                Creditor Name           Claim           Claim Class         Claim     Uniform    Scheduled       Claim          Amount          Amount        Interest         Tax             Net
  No.:                                        Date                                Status   Tran Code    Amount        Amount          Allowed          Paid                                       Remaining
                                                                                                                                                                                                   Balance

     11   NUC02, LLC                        05/23/2019   General Unsecured      Allowed    7100-000         $0.00        $778.33         $778.33          $0.00          $0.00            $0.00      $778.33
                                                         726(a)(2)
          2800 SE Market Place
          Stuart FL 34997
     12   GRANDY'S, LLC                     06/04/2019   General Unsecured      Allowed    7100-000         $0.00   $1,243,513.98   $1,243,513.98         $0.00          $0.00            $0.00 $1,243,513.98
                                                         726(a)(2)
         c/o Nowak & Stauch, PLLC
         10000 North Central Expressway
         Suite 1040
         Dallas TX 75231
Claim Notes: Amounts due under Franchise Agreements
   13-2   TEXAS COMPTROLLER                 06/12/2019   Claims of              Allowed    5800-000         $0.00      $5,388.54       $5,388.54          $0.00          $0.00            $0.00     $5,388.54
          OF PUBLIC ACCOUNTS                             Governmental Units -
                                                         507(
         c/o Office of the Attorney General
         Bankruptcy - Collections Division
         MC-008
         PO Box 12548
         Austin TX 78711-2548
Claim Notes: Franchise Tax Ch. 171
     14   ROCKWALL CAD                      06/28/2019   State and Local Tax    Allowed    4800-000         $0.00      $7,532.48       $7,364.00       $7,364.00         $0.00            $0.00         $0.00
                                                         Liens (pre-peti
         Linebarger, Goggan, Blair &
         Sampson, LLC
         c/o Laurie A. Spindler
         2777 N. Stemmons Freeway Suite
         1000
         Dallas TX 75207
Claim Notes: 5/07/2020 Order; Dkt # 82
     15   DEL TACO LLC                      07/19/2019   General Unsecured      Allowed    7100-000         $0.00   $4,842,929.55   $4,842,929.55         $0.00          $0.00            $0.00 $4,842,929.55
                                                         726(a)(2)
           c/o Brian Walsh
           Bryan Cave Leighton Paisner
           LLP
           211 North Broadway, Suite 3600
           Louis MO 63102
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  Case No.                      19-40764-BTR-7                                                                                           Trustee Name:            Christopher J. Moser
  Case Name:                    AL RAHUM HOLDINGS, LLC                                                                                   Date:                    3/13/2022
  Claims Bar Date:              02/25/2020

 Claim               Creditor Name         Claim            Claim Class          Claim     Uniform    Scheduled       Claim          Amount          Amount        Interest         Tax             Net
  No.:                                     Date                                  Status   Tran Code    Amount        Amount          Allowed          Paid                                       Remaining
                                                                                                                                                                                                  Balance

   16A  GORDON FOOD                  07/19/2019        Other Prior Chapter    Allowed     6990-000         $0.00     $26,211.65      $26,211.65          $0.00          $0.00            $0.00    $26,211.65
        SERVICE INC.                                   Administrative
         PO Box 2244
         Grand Rapids MI 49501
Claim Notes: Chapt. 11 Admin Expense
   16B    GORDON FOOD                     07/19/2019   General Unsecured      Allowed     7100-000         $0.00        $210.00         $210.00          $0.00          $0.00            $0.00      $210.00
          SERVICE INC.                                 726(a)(2)
           PO Box 2244
           Grand Rapids MI
     17   VERITEX COMMUNITY               07/29/2019   General Unsecured      Allowed     7100-000         $0.00   $2,532,235.17   $2,532,235.17         $0.00          $0.00            $0.00 $2,532,235.17
          BANK                                         726(a)(2)
           as successor by merger with
           Green Bank, N.A.
           Shelley Bush Marmon
           2727 Allen Parkway, Suite 1700
           Houston TX 77019
     18   MESQUITE TAX FUND               11/19/2019   State and Local Tax    Allowed     4800-000         $0.00      $7,404.95       $7,404.95       $7,404.95         $0.00            $0.00         $0.00
                                                       Liens (pre-peti
         P.O. Box 850267
         Mesquite TX 75185
Claim Notes: 5/07/2020 Order; Dkt # 82
     19   U.S. TRUSTEE                   11/22/2019    U. S. Trustee          Allowed     2950-000         $0.00        $325.00         $325.00          $0.00          $0.00            $0.00      $325.00
                                                       Quarterly Fees
         110 N. College Ave
         Room 300
         Tyler TX 75702
Claim Notes: Unpaid U.S. Trustee Quarterly Fees
     20 RELIANT ENERGY                02/19/2020 General Unsecured            Allowed     7100-000         $0.00      $5,886.53       $5,886.53          $0.00          $0.00            $0.00     $5,886.53
        RETAIL SERVICES, LLC                       726(a)(2)
         P.O. Box 1046
         Houston TX 77251
    21 CITY OF MESQUITE               02/28/2020 Personal Prop and           Withdrawn    4210-000         $0.00          $0.00           $0.00          $0.00          $0.00            $0.00         $0.00
        AND MESQUITE ISD                           Intang - Consensual
         c/o Gary Allmon Grimes
         Law Office of Gary A. Grimes
         P.C.
         120 West Main, Suite 201
         Mesquite TX 75149
Claim Notes: 3/23/2020 Withdrawal of Claim; Dkt #78
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  Case No.                      19-40764-BTR-7                                                                                       Trustee Name:            Christopher J. Moser
  Case Name:                    AL RAHUM HOLDINGS, LLC                                                                               Date:                    3/13/2022
  Claims Bar Date:              02/25/2020

 Claim               Creditor Name       Claim           Claim Class         Claim     Uniform    Scheduled       Claim          Amount          Amount        Interest         Tax             Net
  No.:                                   Date                                Status   Tran Code    Amount        Amount          Allowed          Paid                                       Remaining
                                                                                                                                                                                              Balance

    22   CITY OF DALLAS               04/27/2020    General Unsecured     Allowed     7100-000         $0.00        $166.04         $166.04           $0.00         $0.00            $0.00       $166.04
                                                    726(a)(2)
         c/o Mark Baggett
         Assistant City Attorney
         1500 Marilla St., 7BN
         Dallas TX 75201
Claim Notes: Fire 2nd Reinspection
    23   GRANDY'S LLC                  11/14/2019   Other Prior Chapter   Allowed     6990-000         $0.00     $16,436.99      $16,436.99           $0.00         $0.00            $0.00    $16,436.99
                                                    Administrative
         c/o Thomas R. Stauch
         Nowak & Stauch, PLLC
         10000 N. Central Expwy, Ste.
         1040
         Dallas TX 75231
Claim Notes: 12/11/2019 Order; Dkt #69
                                                                                                               $9,212,938.64   $8,798,286.39    $101,164.64         $0.00            $0.00 $8,697,121.75
                                          Case 19-40764   Doc 95   Filed 04/27/22 Entered 04/27/22 10:34:45                 Desc Main
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Case No.                      19-40764-BTR-7                                                                         Trustee Name:               Christopher J. Moser
Case Name:                    AL RAHUM HOLDINGS, LLC                                                                 Date:                       3/13/2022
Claims Bar Date:              02/25/2020


      CLAIM CLASS SUMMARY TOTALS

                                           Claim Class                   Claim          Amount         Amount                 Interest                Tax                  Net
                                                                        Amount          Allowed         Paid                                                            Remaining
                                                                                                                                                                         Balance


           Claims of Governmental Units - 507(                           $14,674.12      $14,674.12         $0.00                    $0.00                  $0.00          $14,674.12

           General Unsecured 726(a)(2)                                 $8,637,816.18   $8,637,816.18        $0.00                    $0.00                  $0.00       $8,637,816.18

           Other Prior Chapter Administrative                            $42,648.64      $42,648.64         $0.00                    $0.00                  $0.00          $42,648.64

           Other State or Local Taxes (non-pay                                $0.00           $0.00         $0.00                    $0.00                  $0.00                 $0.00

           Personal Prop and Intang - Consensual                        $481,046.78      $75,000.00     $75,000.00                   $0.00                  $0.00                 $0.00

           State and Local Tax Liens (pre-peti                           $27,151.32      $26,164.64     $26,164.64                   $0.00                  $0.00                 $0.00

           Trustee Compensation                                           $9,168.79       $1,550.00         $0.00                    $0.00                  $0.00           $1,550.00

           Trustee Expenses                                                 $107.81         $107.81         $0.00                    $0.00                  $0.00               $107.81

           U. S. Trustee Quarterly Fees                                     $325.00         $325.00         $0.00                    $0.00                  $0.00               $325.00
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                                                                                                 Exhibit D
                                TRUSTEE’S PROPOSED DISTRIBUTION

Case No.:           19-40764
Case Name:          AL RAHUM HOLDINGS, LLC
Trustee Name:       Christopher J. Moser

                                                                Balance on hand:                      $7,412.28


         Claims of secured creditors will be paid as follows:

Claim No. Claimant                      Claim Asserted           Allowed          Interim              Proposed
                                                                Amount of      Payments to              Amount
                                                                   Claim             Date
           1 City of Garland                    $162.94           $162.94             $162.94                $0.00
           2 Garland ISD                        $154.18           $154.18             $154.18                $0.00
           3 Dallas County                   $11,896.77         $11,078.57          $11,078.57               $0.00
           5 FC Marketplace, LLC            $481,046.78         $75,000.00          $75,000.00               $0.00
          14 Rockwall CAD                     $7,532.48          $7,364.00           $7,364.00               $0.00
          18 Mesquite Tax Fund                $7,404.95          $7,404.95           $7,404.95               $0.00


                                           Total to be paid to secured creditors:                         $0.00
                                                            Remaining balance:                        $7,412.28

         Applications for chapter 7 fees and administrative expenses have been filed as follows:

Reason/Applicant                                                    Total         Interim              Proposed
                                                                Requested      Payments to             Payment
                                                                                     Date
Christopher J. Moser, Trustee Fees                               $1,550.00              $0.00          $1,550.00
Christopher J. Moser, Trustee Expenses                            $107.81               $0.00            $107.81
Attorney's Fees, Attorney for Trustee Fees                       $7,812.00           $7,812.00               $0.00
Attorney's Expenses, Attorney for Trustee Expenses                  $95.98             $95.98                $0.00
Accountant Fees, Accountant for Trustee Fees                     $1,475.00           $1,475.00               $0.00
Accountant -Expenses, Accountant for Trustee                      $150.35             $150.35                $0.00
Expenses
U.S. Trustee, U.S. Trustee Quarterly Fees                         $325.00               $0.00            $325.00


                          Total to be paid for chapter 7 administrative expenses:                     $1,982.81
                                                             Remaining balance:                       $5,429.47

         Applications for prior chapter fees and administrative expenses have been filed as follows:


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Reason/Applicant                                                    Total          Interim         Proposed
                                                                Requested       Payments to        Payment
                                                                                      Date
Other: Gordon Food Service Inc., Other Prior                   $26,211.65             $0.00        $3,336.93
Chapter Administrative Expenses
Other: Grandy's LLC, Other Prior Chapter                       $16,436.99             $0.00        $2,092.54
Administrative Expenses


                       Total to be paid to prior chapter administrative expenses:                $5,429.47
                                                             Remaining balance:                      $0.00

         In addition to the expenses of administration listed above as may be allowed by the Court,
priority claims totaling $14,674.12 must be paid in advance of any dividend to general (unsecured)
creditors.

         Allowed priority claims are:

Claim No. Claimant                                          Allowed Amt.           Interim         Proposed
                                                                 of Claim       Payments to        Payment
                                                                                      Date
         7A IRS                                                  $6,355.56            $0.00            $0.00
           9 Texas Workforce Commission                          $2,930.02            $0.00            $0.00
       13-2 Texas Comptroller of Public Accounts                 $5,388.54            $0.00            $0.00


                                              Total to be paid to priority claims:                    $0.00
                                                             Remaining balance:                       $0.00

        The actual distribution to wage claimants included above, if any, will be the proposed payment
less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

        Timely claims of general (unsecured) creditors totaling $8,637,816.18 have been allowed and will
be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if applicable).

         Timely allowed general (unsecured) claims are as follows:

Claim No. Claimant                                          Allowed Amt.           Interim         Proposed
                                                                 of Claim       Payments to         Amount
                                                                                      Date
           4 Compass Bank                                      $11,493.26             $0.00            $0.00
         7B IRS                                                    $603.32            $0.00            $0.00
           8 Westchester Surplus Lines Ins. Co.                      $0.00            $0.00            $0.00
          11 NuC02, LLC                                            $778.33            $0.00            $0.00


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          12 Grandy's, LLC                                     $1,243,513.98           $0.00            $0.00
          15 Del Taco LLC                                      $4,842,929.55           $0.00            $0.00
        16B Gordon Food Service Inc.                                 $210.00           $0.00            $0.00
          17 Veritex Community Bank                            $2,532,235.17           $0.00            $0.00
          20 Reliant Energy Retail Services, LLC                   $5,886.53           $0.00            $0.00
          22 City of Dallas                                          $166.04           $0.00            $0.00


                                Total to be paid to timely general unsecured claims:                  $0.00
                                                                Remaining balance:                    $0.00

        Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
applicable).

         Tardily filed general (unsecured) claims are as follows: NONE



                       Total to be paid to tardily filed general unsecured claims:                    $0.00
                                                              Remaining balance:                      $0.00

        Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

        Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
subordinated by the Court are as follows: NONE



                                           Total to be paid for subordinated claims:                  $0.00
                                                                 Remaining balance:                   $0.00




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